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                    IN THE UNITED STATES DISTRICT C URT
                         NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION


CHRISTOPHER ROBERT WEAST,               §
                                        §
              Movant,                   §
                                        §
VS.                                     §    NO. 4:17-CV-802-A
                                        §    (NO. 4:14-CR-023-A)
UNITED STATES OF AMERICA,               §
                                        §
              Respondent.               §


                                     ORDER

        Came on for consideration the motion of movant, Christopher

Robert Weast, for reconsideration. As with other documents filed

by movant, the present motion does not bear movant's signature,

but rather an indiscernible mark on the signature line.

Therefore,

        The court ORDERS that movant's motion for reconsideration

be, and is hereby, stricken

        SIGNED April 6, 2018.
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